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                                            July 12, 2022

VIA ECF
Hon. Michael A. Shipp
402 East State Street
Trenton, NJ 08608

        Re:      County of Monmouth v. Pfizer, Inc., No. 3:22-cv-02050-MAS-DEA; Consent
                 Order Extending Time to Respond to Defendant’s Motion to Transfer and
                 Motion to Dismiss Pursuant to Local Rule 6.1

Dear Judge Shipp:

        Plaintiff County of Monmouth (“Plaintiff”) and Defendant Pfizer, Inc. (“Defendant”) in
the above captioned action hereby stipulate and agree that, subject to an order of the Court,
Plaintiff’s time to respond to Defendant’s Motion to Transfer (Dkt. 7) and Motion to Dismiss (Dkt.
8) shall be extended to September 16, 2022, and Defendant’s time to file a reply shall be extended
to October 17, 2022. Please find attached the parties’ consent order to that effect.



                                                         Very truly yours,



                                                         David C. Magagna, Jr.
